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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: GENERIC PHARMACEUTICALS                         MDL 2724
PRICING ANTITRUST LITIGATION                           16-MD-2724

                                                       HON. CYNTHIA M. RUFE
THIS DOCUMENT RELATES TO:

ALL ACTIONS


                      PRETRIAL ORDER NO. 125
   (AMENDING PRETRIAL ORDER NO. 22 AS TO DEFENSE LIASION COUNSEL)

       AND NOW, this 14th day of May 2020, upon consideration of the Motion for

Substitution of Defense Liaison Counsel [MDL Doc. No. 1368], and at the unanimous request of

Defendants, and after a conference with Liaison Counsel, it is hereby ORDERED that the

Motion is GRANTED. The appointments of Saul P. Morgenstern and Laura S. Shores, and the

law firm of Arnold & Porter Kaye Scholler LLP, as Defense Liaison Counsel are

WITHDRAWN and Devora W. Allon and the law firm of Kirkland & Ellis LLP, and Sarah F.

Kirkpatrick and the law firm of Williams & Connolly LLP, are APPOINTED as Defense

Liaison Counsel, effective immediately. Therefore, Defense Liaison Counsel are as follows:


 Jan P. Levine, Esquire                         Sheron Korpus, Esquire
 and the law firm of                            and the law firm of
 Pepper Hamilton LLP                            Kasowitz Benson Torres LLP
 3000 Two Logan Square                          1633 Broadway
 Eighteenth & Arch Streets                      New York, NY 10019
 Philadelphia, PA 19103-2799                    (212) 506-1700
 (215) 981-4000                                 skorpus@kasowitz.com
 levinej@pepperlaw.com
 Lead Liaison Counsel
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 Chul Pak, Esquire                                  Devora W. Allon, Esquire
 and the law firm of                                and the law firm of
 Wilson Sonsini Goodrich & Rosati, PC               Kirkland & Ellis LLP
 1301 Avenue of the Americas, 40th Floor            601 Lexington Avenue
 New York, NY 10019                                 New York, NY 10022
 (212) 999-5800                                     (212) 446-5967
 cpak@wsgr.com                                      devora.allon@kirkland.com

 Sarah F. Kirkpatrick, Esquire
 and the law firm of
 Williams & Connolly, LLC
 725 Twelfth Street, N.W.
 Washington, D.C. 20005
 (202) 434-5958
 skirkpatrick@wc.com


       Liaison counsel are authorized to perform all necessary administrative functions,

including receiving orders and notices from the Court on behalf of Defendants, preparing and

transmitting copies of such orders and notices to counsel for Defendants, and the performance of

other tasks as determined by the Court. Liaison counsel are required to maintain complete files

with copies of all documents served upon them in hard copy or electronic form, and to make

such files available to counsel for Defendants upon request.

       It is so ORDERED.

                                                      BY THE COURT:

                                                      /s/ Cynthia M. Rufe
                                                      ____________________
                                                      CYNTHIA M. RUFE, J.




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